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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
                v.                          :      Case No.: 21-CR-160 (TJK)
                                            :
CHRISTOPHER KUEHNE et al,                    :
                                           :
                     Defendants.           :


                      NOTICE OF ATTORNEY APPEARANCE


       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that the above-captioned matter is assigned to

Assistant United States Attorney Michael M. Gordon who may be contacted by telephone at

(813) 274-6370 or by email at michael.gordon3@usdoj.gov. This is notice of his appearance

in this matter on behalf of the United States.

                                                         Respectfully submitted,

                                                         MATTHEW M. GRAVES
                                                         United States Attorney
                                                         DC Bar No. 481052

                                                 By:    /s/ Michael M. Gordon
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